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                                    UNITED STATES DISTRICT COURT

                                                 District of New Jersey

  Chambers of                                                                               Martin Luther King Jr.
William H. Walls                                                                            Federal Courthouse
  District Judge
                                                                                            50 Walnut Street
                                                                                            Newark, New Jersey 07102
(973) 645-2564
(973) 645-3436 Fax



                                                               March 12, 2013

        Kevin Marino, Esq.
        Marino Tortorella & Boyle, PC
        437 Southern Boulevard
        Chatham, NJ 07928-1488

        Re:        United States v. Kurlander, et al., 2:11 -cr-3 1 5-WHW

        Dear Mr. Marino:

                 Because of the tight scheduling of trials following Kurlander, I remain unable to grant
        your request for an adjournment of the trial to April 8, 2013. This case remains scheduled for
        trial before me on March 19, 2013.


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                                                                     K-WitdSfàttrict Judge


        cc: All Counsel of Record (via ECF)
